DocuSign Envelope ID: F3392AF2-9C0B-4CC0-9CA2-3CE32949FF5E
                      Case 3:21-md-02981-JD Document 216 Filed 04/28/22 Page 1 of 12



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     16     Attorneys for Plaintiff Epic Games, Inc.
     17                                    UNITED STATES DISTRICT COURT
     18                                 NORTHERN DISTRICT OF CALIFORNIA
     19                                         SAN FRANCISCO DIVISION
     20
             IN RE GOOGLE PLAY STORE                         Case No. 3:20-cv-05671-JD
     21      ANTITRUST LITIGATION                            Case No. 3:21-md-02981-JD
     22
             THIS DOCUMENT RELATES TO:
                                                             DECLARATION OF SHAWN
     23      Epic Games, Inc. v. Google LLC et al.,          GRUNBERGER IN SUPPORT OF
     24      Case No. 3:20-cv-05671-JD                       PLAINTIFF EPIC GAMES, INC.’S
                                                             MOTION FOR A PRELIMINARY
                                                             INJUNCTION
     25
     26                                                      Date: June 2, 2022 at 10:00 a.m
                                                             Courtroom: 11, 19th Floor
                                                             Judge: Hon. James Donato
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                                                                                 CASE NO. 3:20-CV-05671-JD
           DECLARATION OF SHAWN GRUNBERGER                                       CASE NO. 3:21-MD-02981-JD
DocuSign Envelope ID: F3392AF2-9C0B-4CC0-9CA2-3CE32949FF5E
                      Case 3:21-md-02981-JD Document 216 Filed 04/28/22 Page 2 of 12



       1    I, Shawn Grunberger, declare as follows:
       2             1.      I am the co-founder of Bandcamp, and now serve as Director of Technology. In

       3    March 2022, I became an employee of Epic Games Inc. (“Epic”) after Bandcamp was acquired

       4    by Epic. I submit this declaration in support of Epic’s Motion for a Preliminary Injunction. The

       5    contents of this declaration are based on my personal knowledge. If called as a witness, I could

       6    and would competently testify thereto.

       7             2.      In 2008, I co-founded Bandcamp, an online record store and music community,

       8    with Ethan Diamond, Joe Holt, and Neal Tucker. I worked as Chief Technology Officer and

       9    head of engineering at Bandcamp for fourteen years, and I am currently the Director of

     10     Technology. In these roles, I have overseen the technical operations side of the business,

     11     including the design and coding of our website, the development of our mobile apps, and the

     12     design, management and engineering of our payment system.

     13     Bandcamp’s Payment System

     14              3.      Since co-founding Bandcamp, I have overseen the engineering efforts to design,

     15     code, build and update Bandcamp’s payment system. Our payment system is a critical piece of

     16     infrastructure that drives Bandcamp’s entire business. We custom built our payment system,

     17     which integrates PayPal technology, to suit the specific needs of our business and the artists,

     18     labels, and fans who use Bandcamp. The team of engineers that designed our system included

     19     ten engineers and three designers, and the system took several years to build. Specifically, we

     20     designed software that ensures that when a fan buys digital music (and many physical items) on

     21     Bandcamp, the fan’s money is routed to Bandcamp, and Bandcamp is able to pay the right

     22     amount to the right artist as quickly as possible. Today, we have a core team of five payment

     23     engineers, one designer and one product manager that maintains and updates our payment

     24     system.

     25              4.      In the past year alone, we have relied on our payment system to process

     26     transactions for 14.9 million digital albums, 7.2 million tracks, 1.9 million vinyl records,

     27     869,000 CDs, 475,000 cassettes, and 295,000 t-shirts, totaling $199 million in spend.

     28
                                                                                       CASE NO. 3:20-CV-05671-JD
           DECLARATION OF SHAWN GRUNBERGER                    2                        CASE NO. 3:21-MD-02981-JD
DocuSign Envelope ID: F3392AF2-9C0B-4CC0-9CA2-3CE32949FF5E
                      Case 3:21-md-02981-JD Document 216 Filed 04/28/22 Page 3 of 12



       1             5.      Before I explain the details and benefits of our payment system, I would like to
       2    briefly summarize how the system works at a high level. Our payment system is two-sided,
       3    meaning that we process payments from fans and send payouts to artists and labels. This process

       4    is fully integrated with PayPal such that regardless of how a user pays for their purchase and

       5    regardless of what countries the buyers or sellers are in, the money from the sale is deposited into
       6    one of Bandcamp’s PayPal accounts and is then sent via PayPal to the artist’s PayPal account,

       7    usually within 24 to 48 hours of the sale.

       8             6.      We have spent years building and refining our software and processes on the
       9    back-end to create a seamless user-facing experience. There are many benefits to the way we

     10     have designed our payment system that would be lost if we were forced to switch to using

     11     Google Play Billing.

     12     Bandcamp’s Pricing Features

     13              7.      Our payment system allows artists and labels to list and edit their digital music for

     14     sale and gives them full control over pricing. Specifically, when artists list a product for sale on

     15     the Bandcamp app, including a digital song or album, they are able to set the price of that

     16     product. In addition, they can set the price of the item in the currency of their choice.
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                                                                                        CASE NO. 3:20-CV-05671-JD
           DECLARATION OF SHAWN GRUNBERGER                     3                        CASE NO. 3:21-MD-02981-JD
DocuSign Envelope ID: F3392AF2-9C0B-4CC0-9CA2-3CE32949FF5E
                      Case 3:21-md-02981-JD Document 216 Filed 04/28/22 Page 4 of 12



       1             8.      Artists can also elect to use a feature known as “Name-Your-Price” by going to
       2    their album page, clicking “edit,” and choosing “let fans pay more if they want.” This allows
       3    users to pay what they want for the product, sending extra money to the artist as they see fit, as

       4    shown below. Artists using the Name-Your-Price feature can specify a minimum amount that

       5    the user must pay for the product. This can optionally be zero, which allows artists to share free,
       6    legal downloads of their music with fans if they choose to do so.

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                                                                                      CASE NO. 3:20-CV-05671-JD
           DECLARATION OF SHAWN GRUNBERGER                    4                       CASE NO. 3:21-MD-02981-JD
DocuSign Envelope ID: F3392AF2-9C0B-4CC0-9CA2-3CE32949FF5E
                      Case 3:21-md-02981-JD Document 216 Filed 04/28/22 Page 5 of 12



       1             9.      The primary purpose of the Name-Your-Price feature is to allow engaged fans to
       2    send more support to the artists they love, to help them create more music. In addition, the
       3    Name-Your-Price feature can be used for fundraising efforts. For example, the artist Skee Mask

       4    recently released an album on Bandcamp using the Name-Your-Price feature, with all earnings

       5    donated to certain humanitarian relief organizations that provide support to Ukraine. There,
       6    users could purchase the album for, say, $100 in order to contribute to those relief organizations.

       7             10.     On average, there are 13,000 new digital items added for sale to Bandcamp every

       8    day.
       9             11.     Approximately 98% of those items have the Name-Your-Price feature enabled by

     10     the artist or label.

     11              12.     Name-Your-Price has proven very successful with respect to purchases of both

     12     digital and physical goods. Buyers who choose to pay more give an average of 50% above the

     13     minimum price.

     14     PayPal Integration

     15              13.     Our payment system is fully integrated with PayPal to facilitate both sides of

     16     Bandcamp transactions, beginning with the initial sale.
     17              14.     The Bandcamp app accepts two forms of payment: PayPal and credit cards.

     18              15.     If the user chooses to pay using PayPal, the Bandcamp server initiates an
     19     interaction with the PayPal server using a PayPal checkout Application Program Interface

     20     (“API”). At that point, the user will be directed to PayPal’s native website checkout flow within

     21     a web view in the Bandcamp app. They can then complete the purchase through PayPal using
     22     the method of their choice—i.e., via the user’s PayPal balance, credit card, or linked bank

     23     account. Once the user clicks “Complete Purchase” within PayPal, the PayPal server alerts the
     24     Bandcamp server to complete the transaction and provides Bandcamp with certain information,

     25     including the buyer’s email address, through a series of API calls between the servers. The user
     26     is then redirected to a post-purchase confirmation screen within the Bandcamp app.

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     28
                                                                                       CASE NO. 3:20-CV-05671-JD
           DECLARATION OF SHAWN GRUNBERGER                     5                       CASE NO. 3:21-MD-02981-JD
DocuSign Envelope ID: F3392AF2-9C0B-4CC0-9CA2-3CE32949FF5E
                         Case 3:21-md-02981-JD Document 216 Filed 04/28/22 Page 6 of 12



       1             16.     If the user chooses to pay using a credit card within the Bandcamp app, they are
       2    presented with a screen to enter their credit card information, name, and zip code. Alternatively,
       3    if the user has previously purchased products within the Bandcamp app using a credit card, the

       4    app allows them to save their credit card information by clicking “Remember my card”; if a user

       5    has done so, they do not need to re-enter their credit card information during subsequent
       6    purchases. The user can then complete their purchase within the Bandcamp app.

       7             17.     One of the critical design features in our payment system is that regardless of

       8    whether a user pays for a digital product using PayPal or a credit card within the Bandcamp app,
       9    the money from the sale is deposited in the same place. Specifically, when a user uses PayPal to

     10     purchase a digital good within the Bandcamp app, the money from the sale is deposited into one

     11     of Bandcamp’s PayPal accounts. In addition, we have intentionally implemented the Bandcamp

     12     app’s support for credit cards using PayPal APIs, such that even if a user chooses to pay for a

     13     digital good using a credit card within the Bandcamp app, the money is also deposited into one

     14     of Bandcamp’s PayPal accounts.1 Because we also send payouts to artists via PayPal, this

     15     minimizes our transaction costs and allows us to cover our payout liabilities without having to

     16     move funds manually between accounts.
     17     Currency Exchange Costs

     18              18.     By fully integrating our payment system with PayPal, we are also able to
     19     minimize our currency exchange fees. When PayPal deposits the funds from transactions—

     20     either PayPal transactions or credit card transactions within the Bandcamp app—into

     21     Bandcamp’s PayPal account, it does so in the currency of the sale, which is chosen by the artist.
     22     For example, if an artist sets the price of a digital album as £10, the money from the transaction

     23     will be deposited into Bandcamp’s PayPal account as £10 (rather than in U.S. dollars), which
     24     allows Bandcamp (and the artist) to avoid paying currency exchange fees both when receiving

     25     and paying out the money from the sale.
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                      Bandcamp has multiple PayPal accounts to accommodate micro-transactions (i.e.,
     27     transactions under $8.07) and macro-transactions (i.e., transactions over $8.07). This is because,
            as explained below, these transactions are subject to different transaction fees.
     28
                                                                                       CASE NO. 3:20-CV-05671-JD
           DECLARATION OF SHAWN GRUNBERGER                     6                       CASE NO. 3:21-MD-02981-JD
DocuSign Envelope ID: F3392AF2-9C0B-4CC0-9CA2-3CE32949FF5E
                       Case 3:21-md-02981-JD Document 216 Filed 04/28/22 Page 7 of 12



       1             19.     This is a unique feature of our payment system, which we have designed very
       2    intentionally. In fact, since originally designing our payment system, we have considered
       3    incorporating other payment methods such as Stripe, but have purposely decided against doing

       4    so because other services would deposit all transactions into our account in U.S. dollars. This

       5    means that to the extent the artist listed the item and the user purchased the item in a non-U.S.
       6    currency, we would be forced to pay currency exchange fees both when receiving payment from

       7    the user and paying out the artist. Alternatively, we could have set up Stripe accounts in other

       8    countries to circumvent this issue, but that would have required us to invest the significant time
       9    and expense needed to establish legal entities in those other countries, which was not feasible for

     10     our company.

     11              20.     Likewise, integrating Google Play Billing would require us to deal with the

     12     complication and expense of currency exchanges, and potentially the risk of fluctuating

     13     exchange rates leading to losses, which we have intentionally avoided throughout Bandcamp’s

     14     history.

     15     Revenue Shares and Fees

     16              21.     Once the money from the sale is deposited into Bandcamp’s PayPal account, our
     17     custom-built accounting system automatically determines how much revenue from the sale to

     18     reserve for the artist after accounting for sales tax, the Bandcamp revenue share, and payment
     19     processing fees. With respect to purchases of digital goods, we receive a 15% revenue share,

     20     which drops to 10% once an artist exceeds $5,000 in sales.

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                                                                                      CASE NO. 3:20-CV-05671-JD
           DECLARATION OF SHAWN GRUNBERGER                    7                       CASE NO. 3:21-MD-02981-JD
DocuSign Envelope ID: F3392AF2-9C0B-4CC0-9CA2-3CE32949FF5E
                         Case 3:21-md-02981-JD Document 216 Filed 04/28/22 Page 8 of 12



       1             22.     In addition to the Bandcamp revenue share, payment processor fees apply to all
       2    transactions for digital goods.2 For transactions greater than or equal to $8.07, the transaction fee
       3    is 1.9% + $0.30 when a user pays using PayPal, and 2.2% + $0.30 when a user pays with a credit

       4    card. For smaller transactions (under $8.07), we minimize the fee by automatically switching to

       5    PayPal’s alternative rate of 5% + $0.05. In addition, when we send payouts to artists’ PayPal
       6    accounts, PayPal’s payout fee is 1% of the total payout amount. Transaction and payout fees can

       7    vary depending on geographic location or payment method. On average, after accounting for

       8    Bandcamp’s revenue share and payment processing fees, artists earn 82% of the revenue from
       9    each sale.

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     26               A true and correct copy of Bandcamp’s web page titled “How much are payment
            processor fees for digital sales?,” available at https://get.bandcamp.help/hc/en-
     27     us/articles/360007802394-How-much-are-payment-processor-fees-for-digital-sales-, is attached
            as Exhibit A.
     28
                                                                                       CASE NO. 3:20-CV-05671-JD
           DECLARATION OF SHAWN GRUNBERGER                    8                        CASE NO. 3:21-MD-02981-JD
DocuSign Envelope ID: F3392AF2-9C0B-4CC0-9CA2-3CE32949FF5E
                         Case 3:21-md-02981-JD Document 216 Filed 04/28/22 Page 9 of 12



       1    Payout Times
       2             23.     Once the artist’s share is determined, we typically pay artists within 24 to 48
       3    hours of a sale, a fact that we prominently feature on our website. 3

       4             24.     To do this, the Bandcamp server initiates an API call to the PayPal server using

       5    PayPal’s Mass Pay feature,4 which allows us to send payments to an artist’s PayPal account
       6    using only the artist’s email address. PayPal then completes the transaction and delivers the

       7    payments to the artist’s PayPal account almost instantly. In the event that an artist does not have

       8    a PayPal account set up, PayPal emails the artist that they have received a payment and prompts
       9    them to finish setting up their PayPal account in order to receive it.

     10              25.     Unlike Bandcamp’s existing payment system, Google Play Billing is one-sided,

     11     meaning it is only designed to pay out developers. It does not have a solution to pay out

     12     hundreds of thousands of sellers over the course of a year. Therefore, it would be our

     13     responsibility to send payouts to artists using a different payment system, which would require

     14     significant, additional effort to implement and maintain.

     15              26.     Paying artists within 24 to 48 hours is possible because of the Bandcamp app’s

     16     custom-built, two-sided payment system that allows us to process sales and send payouts to
     17     artists all within PayPal. Our specialized and centralized payment system gives us the capability

     18     to pay hundreds of thousands of artists per year quickly and efficiently.
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                      A true and correct copy of Bandcamp’s web page titled “How do I get paid on
            Bandcamp, and how often?,” available at https://get.bandcamp.help/hc/en-
     21     us/articles/360007902213-How-do-I-get-paid-on-Bandcamp-and-how-often-
            #:~:text=Payments%20for%20digital%20items%20are,along%20with%20payment%20processo
     22     r%20fees, is attached as Exhibit B. Note that higher-value purchases, like a track that sells for
            $500, are manually reviewed and may take up to 14 days. In addition, Bandcamp’s ability to
     23     remit payments to artists depends on artists setting up their PayPal accounts successfully.
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     24               PayPal’s mass pay option, now called Payouts, is a streamlined solution for managing
            mass payments, allowing an account holder to easily send money to multiple people at the same
     25     time, and the recipient to receive the funds in their PayPal account. This feature allows
            Bandcamp to automatically send thousands of payments at once. A true and correct copy of
     26     PayPal’s web page titled “Send multiple payments with Payouts: the PayPal mass pay option,” ,
            available at https://www.paypal.com/us/brc/article/paypal-mass-
     27     payments#:~:text=The%20PayPal%20mass%20pay%20option%2C%20Payouts%2C%20is%20o
            ne%20such%20solution,funds%20in%20their%20PayPal%20account, is attached as Exhibit C.
     28
                                                                                        CASE NO. 3:20-CV-05671-JD
           DECLARATION OF SHAWN GRUNBERGER                     9                        CASE NO. 3:21-MD-02981-JD
DocuSign Envelope ID: F3392AF2-9C0B-4CC0-9CA2-3CE32949FF5E
                     Case 3:21-md-02981-JD Document 216 Filed 04/28/22 Page 10 of 12



       1             27.     If the Bandcamp app were required to use Google Play Billing, it would
       2    materially affect our process for paying artists. Orders processed using Google Play Billing in
       3    any given month are paid out to developers on the 15th of the following month, meaning that it

       4    could take up to 45 days for Bandcamp to receive payment from Google. 5 This delay in payment

       5    to Bandcamp in turn would significantly delay payments to artists and remove a key selling point
       6    for artists to use Bandcamp. To maintain our commitment to pay artists within 24 to 48 hours of

       7    each digital sale, we would need to use money from our own funds to send payouts to artists.

       8    Multiple Payment Systems
       9             28.      Google’s payments policy seeks to require that all developers selling digital

     10     goods and services in their apps are required to use Google Play’s billing system. But Google’s

     11     payments policy also states that “Google Play’s billing system must not be used” in cases where

     12     payment is primarily for the purchase of physical goods.6 Bandcamp allows artists to sell

     13     physical goods (like CDs, records and merchandise), as well as digital goods. Therefore,

     14     switching to using Google Play Billing for digital purchases would force artists to deal with two

     15     different payment systems—Bandcamp’s payment system for physical goods and Google’s

     16     payment system for digital goods. Thus, artists would continue to be paid out within 24 to 48
     17     hours for sales of physical goods but would be forced to wait 15 to 45 days for sales of digital

     18     goods (absent Bandcamp using their own funds to pay out artists for digital goods on the same
     19     schedule as physical goods), causing confusion among artists dealing with different payment

     20     schedules.

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                       A true and correct copy of Google’s web page titled “Order processing and payouts,”
     24     available at https://support.google.com/googleplay/android-
            developer/answer/137997?hl=en#:~:text=Any%20orders%20processed%2C%20refunded%2C%
     25     20or,bank%20to%20credit%20your%20account, is attached as Exhibit D.
                     6
     26                A true and correct copy of Google’s Payments Policy, available at
            https://support.google.com/googleplay/android-
     27     developer/answer/9858738?visit_id=637865915491541784-284493530&rd=1, is attached as
            Exhibit E.
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                                                                                       CASE NO. 3:20-CV-05671-JD
           DECLARATION OF SHAWN GRUNBERGER                    10                       CASE NO. 3:21-MD-02981-JD
DocuSign Envelope ID: F3392AF2-9C0B-4CC0-9CA2-3CE32949FF5E
                     Case 3:21-md-02981-JD Document 216 Filed 04/28/22 Page 11 of 12



       1    Customer Support
       2             29.     We have put significant engineering resources into integrating our in-house
       3    customer support tools with PayPal. This allows our support team to offer quality customer

       4    support throughout the lifecycle of a payment without leaving our custom-built tools, which

       5    saves us significant time. I expect that integrating Google Play Billing would require us to
       6    expend time and resources building a new infrastructure in order to offer the same level of

       7    quality customer support through Google Play Billing.

       8    Itemized Pricing
       9             30.     While Bandcamp allows artists full control over pricing, Google requires

     10     developers using Google Play Billing for digital purchases in their app to create a pricing

     11     schedule for each digital item available for purchase in the app.7 Google then lists the range of

     12     prices of in-app products available in an app in the Play Store. For example, the description of

     13     the PDF Scanner – PDF Converter app on the Play Store states that the app features in-app

     14     purchases ranging from $1.99 to $47.99 per item.

     15              31.     In practice, this means that Bandcamp would be required to provide Google with

     16     itemized catalogs for every digital item available for purchase within the Bandcamp app—today,
     17     that is around 6.9 million albums and 29 million individual tracks.

     18              32.     To do this, developers have three options: (1) use Google’s Play Console to enter
     19     product details about each individual in-app product they wish to sell, including product ID, title,

     20     description, icon, and price; (2) upload a CSV file that includes these details about multiple

     21     in-app products; or (3) use Google’s API for adding and updating in-app products.
     22              33.     The first two options are unworkable given the number of new digital items added

     23     for sale on Bandcamp every day, and the fact that artists can choose to modify their prices at any
     24     time. Even the third option—using Google’s API for adding and updating in-app products—

     25     would require us to build an automated system that keeps Google’s catalog in sync with ours.
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                     A true and correct copy of Google’s web page titled “Create an in-app product,”
     27     available at https://support.google.com/googleplay/android-developer/answer/1153481?hl=en, is
            attached as Exhibit F.
     28
                                                                                      CASE NO. 3:20-CV-05671-JD
           DECLARATION OF SHAWN GRUNBERGER                   11                       CASE NO. 3:21-MD-02981-JD
DocuSign Envelope ID: F3392AF2-9C0B-4CC0-9CA2-3CE32949FF5E
                     Case 3:21-md-02981-JD Document 216 Filed 04/28/22 Page 12 of 12



       1    This would be a significant challenge for our current marketplace with tens of millions of digital
       2    items.
       3             34.     This is further complicated by the fact that artists are currently able to set prices in

       4    the currency of their choice, and that users often pay more than the price set by artists.

       5             35.     We have spent significant time and resources building the Bandcamp app’s
       6    payment system to support our business and our community, including on Android, where we

       7    have used our payment system without issue for six years. Google Play Billing, on the other

       8    hand, is a poor match for many of our important business needs, and it would therefore impair
       9    the quality and character of our service.

     10              Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     11     and correct and that I executed this declaration on April 28, 2022, in Santa Cruz, California.

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                                                                  Shawn Grunberger
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                                                                                          CASE NO. 3:20-CV-05671-JD
           DECLARATION OF SHAWN GRUNBERGER                      12                        CASE NO. 3:21-MD-02981-JD
